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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEW JERSEY

In re: : Chapter 11

LTL MANAGEMENT, LLC :
Debtor i No, 23-12825 (MBK)

LTL MANAGEMENT, LLC i
Plaintiff, ‘ Adv. No. 23-01092 (MBK)
Vv. 3
ESTATE OF MELISSA FLEMING

Defendants.

Desc Main

NOTICE OF MOTION OF THE ESTATE OF MELISSA FLEMING TO DISMISS CASE

PURSUANT TO 11 U.S.C. § 112(B)

PLEASE TAKE NOTICE that the Defendant, Estate of Melissa Fleming by and through his

counsel shall move fore the Honorable Michael B. Kaplan, Chief Judge, on May 22, 2023, at 10:00 a.m.

at the United State Bankruptcy Court. District of New Jersey, 402 East State Street, Trenton, New Jersey

for an order dismissing the adversary action.

PLEASE TAKE FURTHER NOTICE that the Defendant, Estate of Melissa Fleming shall

reply upon the Memorandum of Law and Certification submitted herewith.

PLEASE TAKE FURTHER NOTICE that any papers in opposition to the Motion must be

filed with the Court and served upon counsel for Defendant Estate of Melissa Fleming no later than 7

days in advance of the hearing date pursuant to D.N.J. LBR 9013-2(a)(2). If opposing papers are not filed

and served within the required time, the Motion shall be deemed uncontested pursuant to D.N.J. LBR

9013-3(d) oral argument may only be presented by a party that has filed opposition to the Motion.

GEOFF B, GOMPERS & ASSOCIATES, P.C.

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GEOFFRE . MPERS, ESQUIRE,Attormey
for the Estate of Melissa Flemin
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Dated: 5| spa

